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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 15-244V
                                          (Not to be Published)

*************************
                             *
CARL S. FISH,                *                                            Filed: September 11, 2015
                             *
                Petitioners, *                                            Decision by Stipulation; Damages;
                             *                                            Influenza (“Flu”) Vaccine;
            v.               *                                            Guillain-Barré Syndrome (“GBS”);
                             *                                            Chronic Inflammatory
SECRETARY OF HEALTH AND      *                                            Demyelinating Polyneuropathy
HUMAN SERVICES,              *                                            (“CIDP”)
                             *
                Respondent.  *
                             *
*************************

James J. Goodwin, Goodwin Law Corporation, Folsom, CA, for Petitioner.

Ann D. Martin, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On March 10, 2015, Carl S. Fish filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (the “Vaccine Program”).2 Petitioner alleges that the
trivalent influenza (“flu’”) vaccination that he received on January 8, 2014, caused him to develop
Guillain-Barré syndrome (“GBS”) and/or Chronic Inflammatory Demyelinating Polyneuropathy
(“CIDP”).




1
  Because this decision contains a reasoned explanation for my actions in this case, I will post it on the United States
Court of Federal Claims website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (Dec. 17, 2002) (current version at 44 U.S.C. § 3501 (2014)). As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the published decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to
the public. Id.
2
 The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury Act
of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. § 300aa-10 through 34 (2012)).
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         Respondent denies that the Mr. Fish’s receipt of the flu vaccine caused him to suffer from
GBS, CIDP, or any other injury. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation (filed September 2, 2015) that the issues before them could be
settled, and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

             A lump sum of $200,000.00 in the form of a check payable to Petitioner. This amount
              represents compensation for all damages that would be available under 42 U.S.C. §
              300aa-15(a).

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk
of the court is directed to enter judgment herewith.3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
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